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                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           23-2979
        Originating Case Number: 3:19-cv-01537-BEN-JLB
        Case Title:              Miller, et al. v. Becerra, et al.


        Monday, October 30, 2023
        Appellants                                            Mediation Questionnaire due

        Thursday, November 2, 2023
        Appellants                                            Appeal Transcript Order Due

        Monday, December 4, 2023
        Appellants                                            Appeal Transcript Due

        Thursday, January 11, 2024
        Appellants                                            Appeal Opening Brief Due

        Monday, February 12, 2024
        Appellees                                             Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
       hearings, the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
